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 5
                          UNITED STATES DISTRICT COURT
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                                  EASTERN DISTRICT OF CALIFORNIA
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 8   UNITED STATES OF AMERICA,                           Case No. 1:15-cr-00234-DAD-BAM

 9                   Plaintiff,                          ORDER CONTINUING PRETRIAL
                                                         VIOLATION HEARING TO JUNE 30, 2016
10           v.
                                                         (ECF No. 34)
11   SHANNE LEAVELL,

12                   Defendant.

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14          A contested hearing in this action is set for June 15, 2016, at 3:00 p.m. before the

15 undersigned. On June 13, 2016, the parties filed a stipulation to continue the hearing to July 5,

16 2016. Due to the Count’s availability, the contested hearing shall be continued to June 30, 2016,

17 at 8:30 a.m. All parties are required to be present at this date and time.

18          Based on the foregoing, IT IS HEREBY ORDERED that:

19          1.      The contested hearing set for June 15, 2016 at 3:00 p.m. is CONTINUED to June

20                  29, 2016, at 8:30 a.m. in Courtroom 9; and

21          2.      All parties are ordered to appear on June 30, 2016 at 8:30 a.m.

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     IT IS SO ORDERED.
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24 Dated:        June 15, 2016
                                                         UNITED STATES MAGISTRATE JUDGE
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